Case 1:22-cv-10904-JSR Document 263-28 Filed 08/07/23 Page 1 of 5




                     EXHIBIT 81
             FILED UNDER SEAL
      Case 1:22-cv-10904-JSR Document 263-28 Filed 08/07/23 Page 2 of 5

GOVERNMENT OF THE UNITED STATES                  UNITED STATES
VIRGIN ISLANDS,                                  DISTRICT COURT
                                                 FOR THE
       Plaintiff,                                SOUTHERN DISTRICT
                                                 OF NEW YORK
v.
                                                 Case No. 22-cv-10904-JSR
JPMORGAN CHASE BANK, N.A.,

       Defendant/Third-Party Plaintiff.



JPMORGAN CHASE BANK, N.A.,

       Third-Party Plaintiff,

v.

JAMES EDWARD STALEY,

       Third-Party Defendant.




     Expert Report of Special Agent Joseph Fonseca, FBI (Retired)
                              on behalf of
                    JPMorgan Chase Bank, N.A.




                                          June 23, 2023
Case 1:22-cv-10904-JSR Document 263-28 Filed 08/07/23 Page 3 of 5
Case 1:22-cv-10904-JSR Document 263-28 Filed 08/07/23 Page 4 of 5
Case 1:22-cv-10904-JSR Document 263-28 Filed 08/07/23 Page 5 of 5
